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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                        ACO-030
                                        No. 22-2287

                        THE CHEMOURS COMPANY FC, LLC,
                                              Petitioner
                                     v.

        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
     ADMINISTRATOR, UNITED STATES ENVIRONMENTAL PROTECTION
                             AGENCY

                                 (EPA No. 822/R-22/005)

Present: FREEMAN, Circuit Judge

       1. Motion to Intervene by Movants Cape Fear River Watch, Center for
          Environmental Health, Clean Cape Fear, Democracy Green, Natural Resources
          Defense Council, North Carolina Black Alliance, Toxic Free North Carolina,
          Dr. Kyle Horton, Lacey Brown, Harper Peterson, Michael Waters and Debra
          Stewart;

       2. Respondents’ Response In Opposition to Motion to Intervene;

       3. Petitioner’s Response In Opposition to Motion to Intervene;

       4. Reply In Support of Motion to Intervene by Movants Cape Fear River Watch,
          Center for Environmental Health, Clean Cape Fear, Democracy Green, Natural
          Resources Defense Council, North Carolina Black Alliance, Toxic Free North
          Carolina, Dr. Kyle Horton, Lacey Brown, Harper Peterson, Michael Waters
          and Debra Stewart.
                                                     Respectfully,
                                                     Clerk/tmm

_________________________________ORDER________________________________
The foregoing motion is granted. Movants have met their burden to show “a sufficient
interest in the litigation,” “a threat that the interest will be impaired or affected, as a
practical matter, by the disposition of the action,” and “that [their] interest [may] not [be]
adequately represented by the existing parties to the litigation.” Pennsylvania v.
President United States of Am., 888 F.3d 52, 57 (3d Cir. 2018) (quoting Kleissler v. U.S.
Forest Serv., 157 F.3d 964, 969 (3d Cir. 1998)). Intervenors will be permitted to file a
single brief on or before the briefing deadline established for Respondents.
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                                                 By the Court,

                                                 s/ Arianna J. Freeman
                                                 Circuit Judge

Dated: February 6, 2023
Tmm/cc: Allon Kedem, Esq.
Kimere J. Kimball, Esq.
Andrew D. Knudsen, Esq.
Simi Bhat, Esq.
